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        Warren A. Stanley, Joseph Farrow, Tariq D.
    8   Johnson, Jonathan Cochran, Joseph Zagorski,
        Justin Vaughan, and Paola Trinidad
    9
   10                     IN THE UNITED STATES DISTRICT COURT
   11                    FOR THE CENTRAL DISTRICT OF CALIFORNIA
   12
   13
   14
        ANGELICA R. UNTALAN,                         2:19-cv-07599 ODW (JEMx)
   15
                                        Plaintiff, NOTICE OF APPEAL
   16
                    v.                               Judge:       The Honorable Otis D.
   17                                                             Wright, II
   18   WARREN A. STANLEY, et al.,                   Trial Date: January 11, 2022
                                                     Action Filed: September 6, 2019
   19                               Defendants.
   20
   21   TO THE COURT, ALL PARTIES AND THEIR ATTORNEYS OF
   22   RECORD:
   23        NOTICE IS HEREBY GIVEN that Defendants Warren A. Stanley, Joseph
   24   Farrow, Tariq D. Johnson, Jonathan Cochran, and Joseph Zagorski hereby appeal to
   25   the United States Court of Appeals for the Ninth Circuit from the District Court’s
   26   Order Granting in Part and Denying in Part Defendants’ and Plaintiff’s Motions for
   27   Partial Summary Judgment entered in this action on August 2, 2021 (Docket No.
   28   113). Defendants seek review of the District Court’s denial of qualified immunity.

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    1   Mitchell v. Forsyth, 472 U.S. 511, 530 (1985). A copy of the order is attached
    2   hereto as Exhibit A. The representation statement is attached hereto as Exhibit B.
    3   Dated: August 31, 2021                       Respectfully submitted,
    4                                                ROB BONTA
                                                     Attorney General of California
    5                                                MARK T. CUMBA
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    6
    7
                                                     s/ Donna M. Dean
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                                                     Attorneys for Defendants
   10                                                Warren A. Stanley, Joseph Farrow,
                                                     Tariq D. Johnson, Jonathan
   11                                                Cochran, Joseph Zagorski,
                                                     Justin Vaughan, and Paola Trinidad
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                  EXHIBIT “A”
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                              Central District of California
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  11   ANGELICA R. UNTALAN,                               Case Ns 2:19-cv-07599-ODW (JEMx)
  12          Plaintiff,                                 ORDER GRANTING IN PART AND
  13          v.                                         DENYING IN PART DEFENDANTS’
  14
                                                         AND PLAINTIFF’S MOTIONS FOR
       WARREN A. STANLEY, et al.,                        PARTIAL SUMMARY JUDGMENT
  15                                                     [94] [97]
              Defendants.
  16
  17                                   I.       INTRODUCTION
  18          Before the Court are the parties’ Motions for Partial Summary Judgment on
  19   Plaintiff Angelica Untalan’s claims arising under 42 U.S.C. § 1983 and California
  20   Civil Code section 52.1. (Defs. Mot. Partial Summ. J. (“DMot”), ECF No. 94; PI.
  21   Mot. Partial Summ. J. (“PMot.”), ECF No. 97.) For the reasons below, the Court
  22   GRANTS in part and DENIES in part both Motions. l
  23                                   II.       BACKGROUND
  24          On May 12, 2019, Angelica Untalan was driving her Pontiac Grand Am (the
  25   “Vehicle”) in Los Angeles County when she was stopped by Officer Paola Trinidad of
  26   the California Highway Patrol (“CHP”). (Defs. Statement of Genuine Issues ISO
  27
       i
  28    Having carefully considered the papers filed in connection with the Motions, the Court deemed the
       matters appropriate for decision without oral argument. Fed. R. Civ. P. 78; C.D. Cal. L.R. 7-15.
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   1   Defs. Opp’n (“DSGI”) 1-2, ECF No. 99-2.)2                 Trinidad determined Untalan had a
   2   suspended license and consequently impounded the Vehicle pursuant to California
   3   Vehicle Code section 14602.6 (“Section 14602.6”). (DSGI 3-4.) This resulted in a
   4   thirty-day impound that required CHP authorization for release. It could have been
   5   impounded under a different code section that did not provide a 30-day impound or
   6   require CHP authorization for release. (PI. Statement of Uncontroverted Facts ISO
   7   PMot. (“PSUF”) 5-6, 14, ECF No. 97-1; DSGI 5-6, 14.) Trinidad ordered Untalan
   8   out of her vehicle and patted her down, despite having no reason to believe she posed
   9   a threat. (DSGI 7-11.)
  10          When Untalan contacted the tow company to retrieve the Vehicle she was
  11   informed she needed CHP authorization. (DSGI 13-14.) On May 14, 2019, Untalan
  12   went to the CHP office with a friend who was licensed and could drive her car, but
  13   was informed her Vehicle would not be released due to the thirty-day hold.
  14   (PSUF 15-17.)3
  15          On May 17, 2019, Untalan’s counsel spoke with CHP Sergeant Justin Vaughan
  16   on the telephone.         (DSGI 17; PI. Statement of Genuine Issues ISO PI. Opp’n
  17   (“PSGI”) 16, ECF No. 101.) Untalan’s counsel informed Vaughan that refusal to
  18   release the Vehicle was wrongful under Ninth Circuit precedent, Brewster v. Beek,
  19   859 F.3d 1194 (9th Cir. 2017).          (DSGI 18.) Vaughan acknowledged the Brewster
  20   decision but stated it did not apply; he advised that Untalan could request a storage
  21   hearing for release of the Vehicle. (DSGI 19-20.)
  22
       2 Both parties submit objections to evidence and/or improper argument in their statements of fact.
  23   The Court OVERRULES all boilerplate objections and improper argument. (See Scheduling and
       Case Mgmt. Order 7-9, ECF No. 33.) Further, where the objected evidence is unnecessary to the
  24
       resolution of the Motions or supports facts not in dispute, the Court need not resolve those objections
  25   here. To the extent the Court relies on objected-to evidence in this Order, those objections are
       OVERRULED. See Burch v. Regents of Univ. of Cal, 433 F. Supp. 2d 1110, 1122 (E.D. Cal.
  26   2006) (proceeding with only necessary rulings on evidentiary objections).
  27   3 Defendants purport to dispute the facts underlying the May 14 event but offer no evidence in
       support, instead relying solely on objections to Untalan’s evidence. (See DSGI 15-16.) As noted
  28   above, Defendants’ objections are overruled. Therefore, the Court considers these facts undisputed.
       See C.D. Cal. F.R. 56-3.



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   1         On May 23, 2019, CHP Lieutenant Jonathan Cochran conducted Untalan’s
   2   storage hearing; CHP Lieutenant Joseph Zagorski was also present. (DSGI 21, 26, 28
   3   PSGI 18.)    Cochran authorized a conditional release of the Vehicle to Untalan’s
   4   counsel, who was not to allow Untalan access to the Vehicle for the remainder of the
   5   thirty-day period unless she obtained a valid license. (DSGI 26.) Untalan’s counsel
   6   informed Zagorski that Ninth Circuit authority required the CHP to release the
   7   Vehicle, but he refused to order an unconditional release.         (DSGI 31-32.)   CHP
   8   Captain Tariq Johnson approved the May 23, 2019 Storage Hearing Report form after
   9   reviewing the underlying documents, including the citation, the form documenting
  10   seizure, a memorandum correcting that form, and Untalan’s driving history.
  11   (DSGI 35-36.)
  12         By the time of the conditional release on May 23, Untalan could not afford to
  13   pay the accrued towing and storage fees. (PSUF 27.) On June 19, 2019, Untalan’s
  14   counsel sent a letter to Johnson stating that Untalan had previously offered to pay any
  15   fees and have a licensed driver pick up her car, and that, under Brewster, the Vehicle
  16   should have been released on May 14, 2019. (DSGI 37.) Johnson forwarded that
  17   letter to CHP’s legal department. (DSGI 38.) On July 1, 2019, the Vehicle was sold
  18   at a lien sale and Untalan lost all possession of it. (DSGI 43.)
  19         Untalan asserts three claims against Defendants Warren A. Stanley, Joseph
  20   Farrow, Johnson, Cochran, Zagorski, Vaughan, and Trinidad (“Defendants”) in their
  21   individual capacities: (1) unlawful search of person under 42 U.S.C. § 1983 and
  22   California Civil Code section 52.1(c), against Trinidad only; (2) unlawful vehicle
  23   impound under 42 U.S.C. § 1983, against all Defendants; and (3) violation of the
  24   Bane Act, California Civil Code section 52.1, against Stanley, Cochran, Zagorski, and
  25   Vaughan. (First Am. Compl. (“FAC”) H 33-43, ECF No. 84.)
  26         Untalan and Defendants all move for partial summary judgment. Untalan seeks
  27   partial summary judgment as to her first and second claims. {See generally PMot.)
  28   Defendants seek partial summary judgment as to Untalan’s second and third claims.




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   1   (See generally DMot.) The motions are fully briefed. (Defs. Opp’n to PMot, ECF
   2   No. 99; PI. Reply, ECF No. 105; PI. Opp’n to DMot., ECF No. 100; Defs. Reply, ECF
   3   No. 103.4)
   4                                III.        LEGAL STANDARD
   5          A court “shall grant summary judgment if the movant shows that there is no
   6   genuine dispute as to any material fact and the movant is entitled to judgment as a
   7   matter of law.” Fed. R. Civ. P. 56(a). The burden of establishing the absence of a
   8   genuine issue of material fact lies with the moving party, see Celotex Carp. v. Catrett,
   9   All U.S. 317, 322-23 (1986), and the court must view the facts and draw reasonable
  10   inferences in the light most favorable to the nonmoving party, Seott v. Harris,
  11   550 U.S. 372, 378 (2007). A disputed fact is “material” where the resolution of that
  12   fact might affect the outcome of the suit under the governing law, and the dispute is
  13   “genuine” where “the evidence is such that a reasonable jury could return a verdict for
  14   the nonmoving party.” Anderson v. Liberty Lobby, Inc., 477 U.S. 242, 248 (1986).
  15   Conclusory or speculative testimony in affidavits is insufficient to raise genuine issues
  16   of fact and defeat summary judgment.                   Thornhill Publ’g Co. v. GTE Corp.,
  17   594 F.2d 730, 738 (9th Cir. 1979).            Moreover, though the Court may not weigh
  18   conflicting evidence or make credibility determinations, there must be more than a
  19   mere scintilla of contradictory evidence to survive summary judgment. Addisu v.
  20   Fred Meyer, Inc., 198 F.3d 1130, 1134 (9th Cir. 2000).
  21          Once the moving party satisfies its burden, the nonmoving party cannot simply
  22   rest on the pleadings or argue that any disagreement or “metaphysical doubt” about a
  23   material issue of fact precludes summary judgment. Matsushita Elec. Indus. Co., Ltd.
  24   v. Zenith Radio Corp., 475 U.S. 574, 586 (1986); see Celotex, 477 U.S. at 322-23.
  25   Nor will uncorroborated allegations and “self-serving testimony” create a genuine
  26
  27   4 As Defendants’ Reply exceeds the permitted page length, the Court does not consider it beyond
       page twelve. See Standing Order of Hon. Otis D. Wright II, VILA.3, https://www.cacd.uscourts.
  28   gov/honorable-otis-d-wright-ii (“Replies shall not exceed 12 pages . . . Filings that do not conform to
       the Local Rules and this Order will not be considered.”).



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   1   issue of material fact.   Villiarimo v. Aloha Island Air, Inc., 281 F.3d 1054, 1061
   2   (9th Cir. 2002). The court should grant summary judgment against a party who fails
   3   to demonstrate facts sufficient to establish an element essential to the case when that
   4   party will ultimately bear the burden of proof at trial. See Celotex, 477 U.S. at 322.
   5         Pursuant to the Local Rules, parties moving for summary judgment must file a
   6   proposed “Statement of Uncontroverted Facts and Conclusions of Law” that should
   7   set out “the material facts as to which the moving party contends there is no genuine
   8   dispute.” C.D. Cal. L.R. 56-1. A party opposing the motion must file a “Statement of
   9   Genuine Disputes” setting forth all material facts as to which it contends there exists a
  10   genuine dispute. C.D. Cal. L.R. 56-2. “[T]he Court may assume that material facts as
  11   claimed and adequately supported by the moving party are admitted to exist without
  12   controversy except to the extent that such material facts are (a) included in the
  13   ‘Statement of Genuine Disputes’ and (b) controverted by declaration or other written
  14   evidence filed in opposition to the motion.” C.D. Cal. L.R. 56-3.
  15                                 IV.       DISCUSSION
  16         The Court first considers Untalan’s motion and then turns to Defendants’.
  17   A.    Untalan’s Motion for Partial Summary Judgment
  18         Untalan seeks summary judgment regarding her first two claims, unlawful
  19   search of person against Trinidad and unlawful vehicle impound against Defendants.
  20   Defendants do not oppose Untalan’s motion with respect to the first claim for
  21   unlawful search of person. (Defs. Opp’n 2 n.l.) The Court has reviewed the evidence
  22   and finds Untalan has adequately supported partial summary judgment as to this
  23   claim. Trinidad cannot claim the search was for her personal protection while Untalan
  24   was being transported because Trinidad did not transport her, but left her on the street.
  25   The Court thus focuses on her second claim, that Defendants’ impound of the Vehicle
  26   violated the Fourth Amendment,         The Court first addresses the impoundment’s
  27   constitutionality and then assesses each Defendant’s liability.
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   1         1.     Fourth Amendment Violation
   2         The Fourth Amendment protects against unreasonable searches and seizures.
   3   U.S. Const, amend. IV. The Ninth Circuit has held that “[thirty]-day impounds under
   4   [SJection 14602.6 are seizures for Fourth Amendment purposes.” Sandoval v. Cnty. of
   5   Sonoma, 912F.3d509, 515 (9th Cir. 2018), cert, denied, 140 S. Ct. 142 (2019); see
   6   also Brewster, 859 F.3d at 1196 (“A seizure is ‘a meaningful interference with an
   7   individual’s possessory interests in [her] property.’” (quoting Soldal v. Cook Cnty.,
   8   506 U.S. 56, 61 (1992))). “A seizure is justified under the Fourth Amendment only to
   9   the extent that the government’s justification holds force. Thereafter, the government
  10   must cease the seizure or secure a new justification.” Brewster, 859 F.3d at 1197.
  11   While an initial seizure may be justified under Section 14602.6 pursuant to the
  12   community caretaking exception, “[t]he exigency that justifie[s] the seizure vanishe[s]
  13   once the vehicle arrive[s] in impound and [the owner] show[s] up with proof of
  14   ownership and a valid driver’s license.” Id. at 1196; see also Sandoval, 912F.3d
  15   at 516 (“Once [the owner] was able to provide a licensed driver who could take
  16   possession of the truck, the [government’s] community caretaking function was
  17   discharged.”).
  18         There is no dispute that Untalan’s vehicle was seized pursuant to
  19   Section 14602.6, implicating the Fourth Amendment’s protections. Untalan presents
  20   evidence that she went to the CHP office on May 14, 2019, to pay the accrued storage
  21   fees and retrieve the Vehicle.   (PSUF 15.) A friend who was licensed and could
  22   legally drive her car accompanied her. (PSUF 15.) Despite this, CHP personnel did
  23   not release the Vehicle. (See PSUF 16.) These facts plainly show Untalan’s Fourth
  24   Amendment rights were violated as a matter of law under Brewster and Sandoval.
  25         Defendants purport to dispute these facts but fail to provide counter evidence or
  26   raise a genuine issue for trial. Instead, they merely object to the admissibility of
  27   Untalan’s evidence on the grounds of relevancy, hearsay, and lack of foundation. (See
  28   DGSI 15-16; Defs. Objs. HI, 2, 4, 9, 10, 12, ECF No. 99-1.) First, “relevance




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   1   objections are redundant” at the summary judgment stage, Burch, 433 F. Supp. 2d
   2   at 1119, and Defendants’ hearsay and lack of foundation objections lack merit.
   3   Further, “[a]t the summary judgment stage, we do not focus on the admissibility of the
   4   evidence’s form. We instead focus on the admissibility of its contents.” Fraser v.
   5   Goadale, 342 F.3d 1032, 1036 (9th Cir. 2003).             Untalan submits declaration and
   6   deposition testimony that she went to the CHP office on May 14, 2019, accompanied
   7   by Douglas Foster who showed the CHP officer his license and insurance, but the
   8   officer refused to release the Vehicle. These facts are properly admissible before the
   9   Court—they reflect Untalan’s personal knowledge and are not the hearsay statements
  10   of others. See Gannon Int’l v. Blocker, 684F.3d785, 793 (8th Cir. 2012) (finding
  11   hearsay objection properly overruled where it did “not even attempt to argue that the
  12   information contained in [the] statement could not have been presented in an
  13   admissible form at trial”). As such, Untalan has shown as a matter of law that she
  14   suffered a Fourth Amendment violation when the CHP refused to release the
  15   impounded Vehicle to her when the initial exigency had vanished.
  16          2.     Liability of Defendants5
  17          Turning to Defendants’ individual liability, § 1983 states that “[e]very person
  18   who, under color of [law] . . . subjects, or causes to be subjected, any . . . person ... to
  19   the deprivation of any rights . . . secured by the Constitution and laws, shall be liable
  20   to the party injured.” 42 U.S.C. § 1983. “[F]or a person acting under color of state
  21   law to be liable under section 1983 there must be a showing of personal participation
  22   in the alleged rights deprivation.” Jones v. Williams, 297 F.3d 930, 934 (9th Cir.
  23   2002). “Section [1983] should be read against the background of tort liability that
  24   makes a man responsible for the natural consequences of his actions.” Monroe v.
  25
  26   5 To the extent Defendants contend they are entitled to qualified immunity in their opposition to
  27   Untalan’s motion or in their affirmative motion for partial summary judgment, the Court previously
       considered Defendants’ argument on this issue and held they are not so entitled. {See generally
  28   Defs. MJOP, ECF No. 45; MJOP Order, ECF No. 75.) The Court sees no substantive differences in
       Defendants’ argument here and is not inclined to revisit the issue.



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   1   Pape, 365 U.S. 167, 187 (1961), overruled on other grounds by Monell v. Dep’t of
   2   Soc. Servs., 436 U.S. 658 (1978).
   3         “Generally, proximate cause is a question of fact.”             Leaf v. United States,
   4   588 F.2d733, 736 (9th Cir. 1978), abrogated on other grounds by Sosa v. Alvarez-
   5   Machain, 542 U.S. 692 (2004). “Proximate cause is said to depend on whether the
   6   conduct has been so significant and important a cause that the defendant should be
   7   legally responsible.” Mendez v. Cnty. of Los Angeles, 897 F.3d 1067, 1076 (9th Cir.
   8   2018) (internal quotation marks omitted). “[T]he touchstone of proximate cause in a
   9   § 1983 action is foreseeability.” Id.
  10         There is no dispute that the officers were acting under color of state law and, as
  11   discussed above, no question that the series of events here is the cause in fact of the
  12   constitutional violation—the prolonged impound.             Thus, the question is whether
  13   Defendants were each the proximate cause of that violation such that holding them
  14   liable is appropriate. Although Untalan brings her second cause of action against all
  15   Defendants, (FAC        38-39), she argues in her motion for the liability of only
  16   Trinidad, Vaughan, Cochran, Zagorski, and Johnson, {See PMot. 11-16). The Court
  17   addresses each Defendant’s liability in turn.
  18                a.      Trinidad
  19         Untalan contends Trinidad’s decision to impound the Vehicle confers liability.
  20   (PMot. 14.) However, Trinidad’s initial seizure was lawful and not the root of the
  21   constitutional violation. Rather, the violation arose with the continued seizure of the
  22   Vehicle, after Untalan was prevented from retrieving it with a licensed driver on
  23   May 14, 2019. See Sandoval, 912 F.3d at 516-17 (holding that once the exigency is
  24   extinguished,     continued     impoundment       is   unconstitutional),    The   evidence
  25   demonstrates that Trinidad had no involvement in the continued impoundment.
  26   Further, Untalan’s argument that Trinidad should have foreseen the subsequent
  27   violation when she impounded pursuant to Section 14602.6, which provided a
  28   thirty-day impound, rather than a different code section that did not, is not supported.




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   1   See id. at 519 (“[A] 30-day impound does not necessarily violate the Fourth
   2   Amendment. Instead, such a prolonged seizure is only unconstitutional when it
   3   continues in the absence of a warrant or any exception to the warrant requirement.”).
   4   Drawing all reasonable inferences in the light most favorable to Trinidad as the
   5   nonmoving party, a reasonable juror could find Trinidad would not have foreseen the
   6   subsequent constitutional violation. Therefore, Untalan is not entitled to summary
   7   judgment against Trinidad for the second cause of action, unlawful impound.
   8                 b.     Vaughan
   9          Turning to Vaughan, Untalan contends he is liable for the Fourth Amendment
  10   violation because he refused to release the Vehicle despite knowing of the Brewster
  11   decision. (PMot. 15.) The undisputed facts show that Untalan’s counsel spoke with
  12   Vaughan on the phone on May 17, 2019, and asserted that, per Brewster, the refusal to
  13   release the Vehicle on May 14, 2019, was wrongful.                (DSGI 17-19.)      However,
  14   Untalan has not shown that Vaughan refused to release the Vehicle during that
  15   conversation or even that Vaughan could have done so.6 The undisputed evidence
  16   shows only that a release did not occur following the phone call.                 Drawing all
  17   reasonable inferences in a light favorable to Vaughan, a reasonable juror could
  18   conclude he was not involved in prolonging the impoundment. As such, Untalan is
  19   not entitled to summary judgment against Vaughan on this claim.
  20                 c.     Cochran and Zagorsk!
  21          Untalan groups Lieutenants Cochran and Zagorski together, arguing their
  22   involvement in the post storage hearing creates liability. (PMot. 15.) It is undisputed
  23   that Cochran conducted the hearing and authorized a conditional release of the Vehicle
  24   to Untalan’s attorney. (DSGI 21, 26.) It is also undisputed that Zagorski participated
  25   in the hearing and he, too, failed to authorize an unconditional release from impound.
  26
  27   6 Untalan points to Vaughan’s deposition to support that Vaughan “would not authorize release” of
       the Vehicle unless Untalan “obtained a valid driver’s license.” (See PSUF 20.) Neither the cited
  28   deposition testimony nor its surrounding context supports Untalan’s proposed fact. (See Decl. of
       Donald W. Cook (“Cook Deck”) Ex. F (“Vaughan Dep.”) 93-95, ECF No. 97-2; DSGI 20.)



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 1   (DSGI 28, 32.) Thus, Cochran and Zagorski knew the exigency had abated and
 2   possessed the authority to release the Vehicle. However, Cochran released the Vehicle
 3   to Untalan’s attorney, as Untalan’s licensed agent, only on the condition that she
 4   “ensure that [Untalan] will not have access to said vehicle during the remainder of the
 5   [thirty]-day impoundment period.” (Cook Decl. Ex. N (“Release Agreement”), ECF
 6   No. 97-2 (emphasis added).) The imposition of this condition on release, following
 7   the end of any exigency justifying seizure, is itself an unlawful continued seizure. Sec
 8   Sandoval, 912 F.3d at 516-17 (finding continued seizure unreasonable once the owner
 9   provided a licensed driver who could take possession of the vehicle).
10         Viewing all reasonable inferences in Cochran’s and Zagorski’s favor, they both
11   knew the seizure was no longer justified and had the authority to release the Vehicle,
12   yet conditioned the release on denying Untalan access to the Vehicle for the remainder
13   of the thirty-day impoundment period. On these undisputed facts, any reasonable
14   juror would find Cochran and Zagorski prolonged the seizure without justification.
15   Untalan is therefore entitled to summary judgment against them on her second cause
16   of action.
17                d.     Johnson
18         Untalan next argues for summary judgment against Johnson. (PMot. 15-16.)
19   The undisputed facts show that Johnson approved the Storage Hearing Report and
20   reviewed all underlying documents.       (DSGI 35-36.)    As such, like Cochran and
21   Zagorski, Johnson knew the exigency had abated but nevertheless approved only a
22   conditional release. Thus, Untalan is entitled to summary judgment against Johnson
23   on this claim as well.
24         3.     Summary—Untalan’s Motion
25         Based on the foregoing, the Court finds Untalan is entitled to summary
26   judgment on her first claim for unlawful search of a person against Trinidad. She is
27   also entitled to summary judgment on her second claim for unlawful impound against
28   Cochran, Zagorski, and Johnson, but not against Trinidad or Vaughan. Untalan has




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 1   established as a matter of law that she suffered a constitutional violation due to an
 2   unlawful impound, but genuine issues of material fact remain regarding Trinidad’s and
 3   Vaughan’s liability for that violation. The Court therefore GRANTS in part and
 4   DENIES in part Untalan’s Motion for Partial Summary Judgment.
 5   B.    Defendants’ Motion for Partial Summary Judgment
 6         The Court next turns to Defendants’ Motion seeking partial summary judgment
 7   on Untalan’s second claim for unlawful impound under § 1983, and third claim for
 8   violation of the Bane Act, California Civil Code section 52.1. (DMot. 6-9, 16-17.)
 9   Defendants also argue they are entitled to various state law immunities with respect to
10   Untalan’s Bane Act claim. (Id. at 17-20.) The Court addresses each issue in turn.
11         1.     Unlawful Impound
12         Defendants first contend they are entitled to summary judgment on Untalan’s
13   second claim for unlawful impound because no Defendant violated Untalan’s Fourth
14   Amendment rights. (DMot. 6-9.) The Court discussed above that Untalan is entitled
15   to summary judgment as to the unlawful impound against Cochran, Zagorski, and
16   Johnson. Accordingly, Defendants’ Motion is denied on this claim as to them and the
17   Court considers Defendants’ arguments as to the remaining Defendants—Trinidad,
18   Vaughan, Former CHP Commissioner Farrow, and CHP Commissioner Stanley.
19         The legal requirements for liability on this claim are stated above and continue
20   to apply here. However, as the Court now considers Defendants’ Motion, the burdens
21   and inferences are reversed. See Celotex, All U.S. at 322-23 (burden on moving
22   party); Seott, 550 U.S. at 378 (reasonable inferences for nonmoving party). Thus, the
23   Court now examines whether Defendants have shown there is no genuine dispute of
24   material fact and they are entitled to judgment as a matter of law, taking all facts and
25   reasonable inferences in Untalan’s favor.
26                a.    Trinidad
27         As discussed above, the evidence demonstrates that Trinidad’s initial seizure of
28   the Vehicle was lawful and that Trinidad had no subsequent involvement in the




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 1   impound.     Untalan argues Trinidad’s decision to impound the Vehicle under
 2   Section 14602.6 necessarily means she should have foreseen the unjustified prolonged
 3   impoundment by other officers down the line. Not so. Such a finding would subject
 4   every officer who lawfully impounds a vehicle pursuant to Section 14602.6 to liability
 5   for the subsequent actions of others handling the impoundment; this is simply not the
 6   law. See Jones, 297 F.3d at 934 (“[Tjhere must be a showing of personal participation
 7   in the alleged rights deprivation.”); see also Sandoval, 912 F.3d at 519 (“[A] 30-day
 8   impound does not necessarily violate the Fourth Amendment.”).          Untalan has not
 9   shown or raised a genuine issue that Trinidad was involved in the subsequent
10   prolonged impoundment. Viewing all reasonable inferences in Untalan’s favor, no
11   reasonable juror could conclude Trinidad prolonged the impoundment.           See Leaf,
12   588 F.2d at 736 (discussing that proximate cause may be a question of law if “the
13   proof is insufficient to raise a reasonable inference that the act complained of was the
14   proximate cause of the injury”). Therefore, Trinidad is entitled to summary judgment
15   on Untalan’s second cause of action for unlawful impound.
16                b.    Vaughan
17         Also discussed above, the evidence shows that Untalan’s counsel spoke with
18   Vaughan on the phone on May 17, 2019, and informed him that the prolonged
19   impound was unlawful.       However, Untalan has offered nothing to suggest that
20   Vaughan could have released the Vehicle or provided any other relief based on his sole
21   interaction—the phone call. Taking all facts and reasonable inferences in Untalan’s
22   favor, based on the evidence and undisputed facts before the Court, no reasonable
23   juror could conclude that Vaughan refused to release the Vehicle or prolonged the
24   impound. See Leaf, 588 F.2d at 736. As such, Vaughan is also entitled to summary
25   judgment on Untalan’s second cause of action.
26                c.    Farrow and Stanley
27         Defendants contend Farrow and Stanley (the “Commissioners”) are entitled to
28   summary judgment because they were not personally involved with the constitutional




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 1   violation, and no supervisory liability attaches to their conduct because they had no
 2   involvement in any decisions to not change the impound policy. (DMot. 9.)
 3         Supervisory liability can arise from “action or inaction in the training,
 4   supervision, or control of. . . subordinates, . . . acquiescence in the constitutional
 5   deprivations of which the complaint is made, or conduct that showed a reckless or
 6   callous indifference to the rights of others.” Starr v. Baca, 652 F.3d 1202, 1205-06
 7   (9th Cir. 2011) (internal quotation marks omitted). Defendants do not dispute that the
 8   Commissioners and their staff are responsible for developing, reviewing, and
 9   approving CHP policy.       (See Decl. of Chris Lane 12, Ex. 1 (Highway Patrol
10   Manual 1.1) |1.5(a), ECF No. 94-4; see also Suppl. Decl. of Donald W. Cook (“Suppl.
11   Cook Decl.”) Ex. EE (“Decl. of Dale E. Bonner”) H 6, ECF No. 100-1.) Although
12   Defendants argue the Commissioners were not involved in formulating the policy or
13   the decision not to revise it, that itself supports Untalan’s argument that the
14   Commissioners may have been deliberately indifferent to constitutional violations of
15   the type occurring here.
16         Untalan submits evidence of CHP management emails advising all CHP field
17   offices of the Brewster decision, seeking advice regarding the legal impact of that
18   decision, and providing legal advice from attorneys in the form of a client advisory.
19   (See Suppl. Cook Decl. ^ 5-6, Exs. HH, II.) Defendants argue Stanley would not
20   have seen some of these and that the determination to not revise the policy was not
21   elevated to the commissioner level, (DMot. 9-10), but viewing inferences in Untalan’s
22   favor, a reasonable juror could conclude from this evidence that Farrow and Stanley
23   were aware of the Brewster decision and its legal import to CHP impound policy and
24   failed to act. Therefore, Farrow and Stanley are not entitled to summary judgment on
25   Untalan’s second cause of action for unlawful impound.
26         2.     The Bane Act
27         Defendants next contend they are entitled to summary judgment as to Untalan’s
28   third claim, violation of the Bane Act, because Defendants did not violate Untalan’s




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 1   constitutional rights and Untalan cannot prove Defendants’ specific intent to do so.
 2   (DMot. 16-17.) Untalan brings this claim against Vaughan, Cochran, Zagorski, and
 3   Stanley. (FAC TflJ 40-43.) The Court has already determined Vaughan is entitled to
 4   summary judgment on the issue of whether he violated Untalan’s rights and the
 5   remaining Defendants are not. Therefore, the Court focuses on whether Untalan can
 6   prove Cochran’s, Zagorski’s, and Stanley’s specific intent.
 7          The Bane Act addresses hate crimes, “civilly protect[ing] individuals from
 8   conduct aimed at interfering with rights . . . where the interference is carried out ‘by
 9   threats, intimidation or coercion.’” Reese v. Cnty. of Sacramento, 888 F.3d 1030, 1040
10   (9th Cir. 2018) (quoting Venegas v. Cnty. of Los Angeles, 153Cal. App. 4th 1230,
11   1233 (2007)). “The specific intent inquiiy for a Bane Act claim is focused on two
12   questions.”   Sandoval, 912 F.3d at 520 (quoting Cornell v. City & Cnty. of San
13   Francisco, 17 Cal. App. 5th 766, 803 (2017)). “First, ‘[i]s the right at issue clearly
14   delineated and plainly applicable under the circumstances of the case,’ and second,
15   ‘[d]id the defendant commit the act in question with the particular purpose of
16   depriving the citizen victim of his enjoyment of the interests protected by that right?”’
17   Id. “So long as those two requirements are met, specific intent can be shown ‘even if
18   the defendant did not in fact recognize the unlawfulness of his act’ but instead acted in
19   ‘reckless disregard’ of the constitutional right.” Id.
20         Untalan’s right to reclaim the Vehicle has been clearly established since the
21   decisions of Brewster and Sandoval. See id. (“[I]t was legally unclear whether the
22   30-day impounds were ‘seizures’ at all within the meaning of the Fourth Amendment
23   until we issued our decision in BrewsterC).          Thus, the question is whether the
24   undisputed facts establish that Cochran, Zagorski, and Stanley acted with the
25   particular purpose of depriving Untalan of the enjoyment of her right or reckless
26   disregard of that right.
27         Defendants fail to point to evidence showing Cochran, Zagorski, or Stanley are
28   entitled to summary judgment on the question of specific intent. To the contrary,




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 1   several pieces of evidence support their intent to deprive Untalan of possession for
 2   thirty days, or reckless disregard for the constitutional harm such an unjustified
 3   seizure would cause: chiefly, the conditional release, which restricted Untalan’s access
 4   to the Vehicle even if she had a licensed driver with her, and CHP policy regarding
 5   enforcement of the thirty-day impound despite Ninth Circuit precedent holding
 6   unjustified impounds unconstitutional. Viewing all reasonable inferences in Untalan’s
 7   favor, a reasonable juror could find this circumstantial evidence supports Cochran’s
 8   and Zagorski’s specific intent to deprive Untalan of her property as well as Stanley’s
 9   reckless disregard for that deprivation. Consequently, Cochran, Zagorski, and Stanley
10   are not entitled to summaiy judgment on Untalan’s Bane Act claim.
11         As Vaughan is entitled to summary judgment on the issue of whether he
12   violated Untalan’s constitutional rights, he is also entitled to summary judgment on
13   her third claim for violation of the Bane Act.
14         3.     State Law Immunities
15         Finally, Defendants argue that even if Untalan can establish a Bane Act
16   violation, (a) they are entitled to immunity based on California Government Code
17   sections 820.6 and 821.6, and (b) Stanley is entitled to immunity based on
18    sections 820.2 and 820.8. (DMot. 17-20.)         “When applicable, these grants of
19   immunity preclude the imposition of damages on public employees . . . .” Gibson v.
20   Cnty. of Riverside, 181 F. Supp. 2d 1057, 1086 (C.D. Cal. 2002). “In general, under
21   California law public employees are not liable for actions taken to enforce laws unless
22   they act with malice or without due care or good faith.” Id. (citing Cal. Gov’t Code
23   §§ 820.4, 820.6, & 821.6). Defendants bear the burden to establish immunity. Id.
24                a.     Government Code sections 820.6 and 821.6—Cochran & Zagorski
25         Section 820.6 provides immunity for public employees acting “in good faith,
26   without malice, and under the apparent authority of an enactment that is
27   unconstitutional.” Untalan argues the evidence shows Defendants based their release
28   refusals on CHP’s impound policy, rather than on Section 14602.6, removing their




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 1   acts from the protective umbrella of section 820.6’s immunity. (PI. Opp’n 26-28.)
 2   She points to how the impound policy differs from the statute, in that it requires
 3   drivers obtaining early release to be denied all access to their vehicle—a requirement
 4   missing from Section 14602.6—and that the conditional release agreement mirrors the
 5   policy’s language, rather than Section 14602.6’s. {Id.\ Release Agreement; see Decl.
 6   of Kaytie Sproul Ex. 6 (Highway Patrol Manual 81.2) |2.2.d.(10), ECF No. 94-2.)
 7   The Court agrees that this evidence raises doubts about whether Defendants were
 8   acting under authority of Section 14602.6 or were instead acting under authority of
 9   CHP policy, which is not an “enactment.”        See Cal. Gov’t Code §§ 810.6, 811.6
10   (defining enactment and regulation, respectively). As such, a reasonable juror could
11   find Defendants are not entitled to immunity under this section.
12         Next, Government Code section 821.6 is “confm[ed] ... to malicious
13   prosecution actions.” Garmon v. Cnty. of Los Angeles, 828 F.3d 837, 847 (9th Cir.
14   2016) (quoting Sullivan v. Cnty. of Los Angeles, 12 Cal. 3d 710, 721 (1974));
15   Blankenhorn v.     City of Orange, 485 F.3d 463, 488 (9th Cir. 2007) (“[A]s
16   [section 821.6] applies to police conduct, [it] is limited to actions taken in the course
17   or as a consequence of an investigation.”).        This matter does not concern an
18   investigation or a malicious prosecution, so the immunity of Government Code
19   section 821.6 does not apply. See Blankenhorn, 485 F.3d at 488.
20                b.    Government Code sections 820.2 and 820.8—Stanley
21         Section 820.2 states that “a public employee is not liable for an injury resulting
22   from his act or omission where the act or omission was the result of the exercise of the
23   discretion vested in him.” Under this section, “[q]uasi-legislative policy decisions are
24   protected from judicial scrutiny pursuant to a separation of powers rationale,” but
25   defendants must show “an actual policy decision made by an employee who
26   consciously balanced risks and advantages.”          Hernandez v. Cnty. of Tulare,
27   666 F.3d 631, 639 (9th Cir. 2012) (internal quotation marks omitted). Applied here, it
28   is clear the undisputed facts do not establish that Stanley balanced the risks and




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 1   advantages of policy decisions. Stanley disclaims any participation in the decision to
 2   not revise CHP policy in light of Brewster.       Even viewing the facts in favor of
 3   Untalan, such that Stanley did participate in that detennination, no evidence suggests
 4   he exercised discretion or balanced any risks or advantages. As such, Stanley is not
 5   entitled to summary judgment on the basis of this immunity provision.
 6         Lastly, under Government Code section 820.8, “a public employee is not liable
 7   for an injury caused by the act or omission of another person.” This section codifies
 8   the accepted principle that public employees are liable only for their own torts. See
 9   Martinez v. Cahill, 215 Cal. App. 2d 823, 824 (1963). As discussed above, Untalan
10   seeks to hold Stanley liable for his own deficient supervisory acts. Therefore, this
11   immunity does not apply either.
12                                     V.   CONCLUSION
13         For the reasons discussed above, Defendants’ Motion for Partial Summary
14   Judgment is GRANTED in part and DENIED in part. (ECF No. 94.) Specifically,
15   Defendants’ motion is granted as to Trinidad and Vaughan on Untalan’s second cause
16   of action, granted as to Vaughan on Untalan’s third cause of action, and denied as to
17   all other issues and claims.      Untalan’s Motion for Partial Summary Judgment is
18   GRANTED in part and DENIED in part. (ECF No. 97.) Specifically, Untalan’s
19   motion is granted as to her first cause of action against Trinidad, granted as to her
20   second cause of action in that she has established as a matter of law that she suffered a
21   constitutional violation due to unlawful prolonged impound, granted as to her second
22   cause of action on the liability of Cochran, Zagorski, and Johnson, and denied as to
23   the second cause of action on the liability of Trinidad and Vaughan.
24         IT IS SO ORDERED.
25         August 2, 2021
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27                                                   fm
28                                        OTIS D. WRIGHT, II
                                    UNITED ST AT ES DISTRICT JUDGE



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       EXHIBIT “B”
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  1                                        EXHIBIT B
  2                          REPRESENTATION STATEMENT
  3         Pursuant to Rule 12(b) of the Federal Rules of Appellate Procedure and
  4   Circuit Rule 3-2(B), counsel signing the notice of appeal assert that they represent
  5   Defendants Warren A. Stanley, Joseph Farrow, Tariq D. Johnson, Jonathan
  6   Cochran, Joseph Zagorski, Justin Vaughan, and Paola Trinidad in this matter and
  7   no other parties. Defendants Warren A. Stanley, Joseph Farrow, Tariq D. Johnson,
  8   Jonathan Cochran, and Joseph Zagorski are the appellants with respect to this notice
  9   of appeal. Below is a roster of the parties to this action that identifies their counsel
 10   by name, address, telephone number, and email address.
 11                 PARTIES                             COUNSEL OF RECORD
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 15                                              CATHERINE WOODBRIDGE
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